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                  IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                        Plaintiff,

           v.

THE FEDERAL TRADE COMMISSION,
                                                         Case No. _______________
– and –

LINA M. KHAN, REBECCA KELLY
SLAUGHTER, and ALVARO BEDOYA,
in their official capacities as Commissioners
of the Federal Trade Commission,

                        Defendants.


                 MOTION FOR PRELIMINARY INJUNCTION
              ENJOINING DEFENDANTS FROM PROCEEDING IN
           THE ADMINISTRATIVE PROCEEDING AGAINST PLAINTIFF

          Plaintiff Meta Platforms, Inc. (“Meta”) hereby moves the Court, pursuant to Rules

7(b) and 65 of the Federal Rules of Civil Procedure and Local Rules 7 and 65.1, to issue a

preliminary injunction to enjoin Defendant Federal Trade Commission (the “FTC”) and

the individual Defendants Lina M. Khan, Rebecca Kelly Slaughter, and Alvaro Bedoya

(together with the FTC, the “Defendants”), together with their officers, agents, servants,

employees and attorneys, from taking further action in the administrative proceeding (the

“FTC Proceeding”) In the Matter of Facebook, Inc., FTC File No. C-4365, against Meta,

or any other action against Meta until such time as this case is fully and finally resolved.

Meta’s Motion should be granted for the reasons set forth in the accompanying

Memorandum of Points and Authorities.
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                         REQUEST FOR ORAL HEARING

       Pursuant to Local Rule 7(f), Meta hereby requests an oral hearing on its Motion

for Preliminary Injunction.


                      MEET AND CONFER CERTIFICATION

       Pursuant to Local Rule 7(m), undersigned counsel for Meta, on November 28,

2023, met and conferred by telephone with counsel representing Defendants about this

Motion and the claims in the Complaint filed contemporaneously herewith. The Parties

were unable to reach a voluntary resolution, and Defendants oppose the relief sought.

        Dated: November 29, 2023

                                           Respectfully submitted,

                                           /s/ James P. Rouhandeh___________

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                                           Attorneys for Plaintiff Meta Platforms, Inc.




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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 29, 2023, per the Parties’

agreement, copies of the foregoing Motion and the accompanying Memorandum of

Points and Authorities, Exhibits, and Proposed Order were served on Defendants by

email to the below listed attorneys for Defendants:

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                                                            By: /s/ James P. Rouhandeh
                                                                    James P. Rouhandeh




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